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                         EXHIBIT 1
  TO DEFENDANT SWIFT TRANSPORTATION
     CO. OF ARIZONA, LLC’S NOTICE OF
           REMOVAL OF ACTION
      (CLASS ACTION FAIRNESS ACT)




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                                                                          _——-3% .                                                                                                                                       .

V                             ' Q 1 Louis Benowitz (SBN 262300)                                                                                                                        FEED
                                   3- 2                  louis@benowitzlaw.com                                                                                  _           Superior Court “Cam                '
                                   W           LAW OFFICES OF LOUIS BENOWITZ                                                                                                  Comm, of L              0"“
                                   ° 3
                                   6-          9454 W‘l1 s.h‘ire B ou 1 evard , P enthouse                                                I                                     0 "      "5 ’l"'''’‘’'‘’‘
            -1.5,).                            Beverly Hills, California 90212                                                   .
                                   S 45        Telephone: ( 310 ) 844-5141, Facsimile: (310)492-4056                                                                ShB:,rri- R .      fer,       . ,_
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                                                                                                                                                                                                    Ulcerl lerk
                                   ‘0          Joshua Cohen Slatkin (SBN 285090)                                                                                                              —          .Dep 1)
                    4: \ 6                          jcohenslatkin@jcslaw4you.com . ‘                                                                  '                        i        .9" D"°“'
            ;;ji»i' U x                        LAW OFFICEAOF JOSHUA COHEN SLATKIN                                                                                       .                                  V
             "13 ~            - N        7     l 1726 San Vicente Boulevard, Suite 200                               .                                                             .
                                  \%           Los Angeles, California 90049
                                  <1:    8     Telelphone: (310) 627-2699, Facsimile: (310) 943-2757

                                         9     Attorneys for Plaintiffs                                      I                                    I
                                        10     JOHEL VALIENTE and ASHRAF ALAD

                                        11                                           .
                                                                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
                          -             12                                                          ‘
                                        13                               ' FOR THE COUNTY OF LOS ANGELES

                              ’                JOHEL VALIENTE and ASHRAF AIAD, on                                                    Case No.                                                                          w
                                        14     behalf ofthemselves and all others similarly                                                                1 8 S T CVO 1 0 3                                           '<
                                        15     situated,                                                                                                                                                               -11

                                        16                         Flam-n.f,                                                         COMPLAINT FOR:                                                                    ;

                                        17               ‘VS                                                                         1. Failure to Provide Meal Periods (Cal.
    '                 S                 18                     '                                         '               1                . Code §§ 226.7,
                                                                                                                                        Lab.            _    512, and 1198);
        .                                      SWIFT TRANSPORTATIONVCO OF ~                                                          2. Failure to Provide Rest Periods (Cal.
                                        19 ARIZONA, LLC, a Delaware limited liability                                                . ,La,b- C°d" §§ 2,26-7 and “98)?_
                                        20     company; and DOES 1-50, inclusive,                                                    3. Failure to Provide Accurate Written
                                                                                                                                        Wage Statements (Cal. Lab. Code §
                                        21                         Defendants.                                                          22661));
                                                                                                                                     4. Waiting Time Penalties (Cal. Lab. Code
                          .             22                                                                                              §§ 201-203);
                                        23                                                                                           5. Unfair Competition (Cal. Bus. & Prof.
                                                                                                                                        Code § 17200 et seq.); and                                                 .
                                        24                                                           _                               6. Civil Penalties (Cal. Lab. Code § 2698
                                                                                                                                        et seq.)
                                        25
                                        26                                                                                   .JURY TRIAL DEMANDED

                                        27
                                        28


                                               Valiente, et al. vs. lSwift Traiizsportarion Co. of               7           1                I           9 i                  Class Action Complaint
                                               Arizona, LLC, et al.



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                                  1            Plaintiffs JOHEL VALIENTE and ASHRAF AIAD (hereafters, “Plaintiffs”), on behalf

                                  2   of himself and all others similarly situated, complains and alleges as follows:

                t                 3                                                  INTRODUCTION                         ‘
                                  4             1.         Plaintiffs brings this class action against defendants sw11=r TRANSPORATION
                                  5   CO. OF ARIZONA, LLC and DOES 1-50, inclusive (collectively “Defendants”) for alleged
                                  6   violations of the California Labor Code, Industrial Welfare Commission Order No. 9-2001                     I
                                  7   (hereafter “the Wage Order”), and the California Business and Professions Code.
                        _         8            2.          As set forth in more detail below, Plaintiffs allege that Defendants are liable to
                                      them and other similarly situated current and former truck drivers in California for unpaid
                                  9   wages and other related relief. These claims are based on Defendants’ alleged failures (1)
                                 10   provide all rest breaks, (2) provide all meal periods, (3) fairly compete, (4) provide accurate
                                 11   wages statements, and (5) timely pay nal wages upon termination of employment.
    I                            12   Accordingly, Plaintiffs now seek to recover unpaid wages and related relief through this class
                                 13   and representative private attorney general action.
                                 14                                                          PARTIES
                                 15            3.          Plaintiff JOHEL VALIENTE is a former employee of Defendants who worked
                                 16   for them as an hourly truck driver in California from approximately October 2015 until
        -                        17   approximately November 2017.                                                   -
                    7            18            4.          Plaintiff ASHRAF AIAD is a former employee of Defendants who worked for
                                      them as an hourly truck driver in California from approximately September 2015 until
                                 19   approximately January 2018.                              ’
                                 20            5.          Defendant SWIFT TRANSPORATION CO. OF ARIZONA, LLC is a limited
                                 21   liability company organized and existing under the laws of Delaware that does business in                       '
                                 22   Califomia, including in Los Angeles County.
                                 23            6.          Plaintiffs are ignorant of the true names, capacities, relationships, and extents of
                                 24   participation in the conduct alleged herein, of the defendants sued as DOES 1-50, inclusive, but
            I                    25   are informed and believe and thereon allege that said defendants are legally responsible for the
                                 26   wrongful conduct alleged herein and therefore sues these defendants by such fictitious names.
                                 27   Plaintiff will amend the Complaint to allege the true names and capacities of the DOB
                                28    defendants when ascertained.                                 1

                                                       .      .                          C         1    _       .
                                      Valiente, et al. vs. Swift Transportation Co. of                                   Class Action Complaint
                                      Arizona, LLC, et al.



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                         1             7.      Plaintiffs are informed and believe and thereon allege that, at all relevant times
                         2   herein, all Defendants were the agents, employees and/or servants, masters or employers of the
        I                3   remaining defendants, and in doing the things hereinafter alleged, were acting within the course
                         4   and scope of such agency or employment, and with the approval and ratication of each of the
                         5   other Defendants.
                         6             8.      At all relevant times, in perpetrating the acts and omissions alleged herein,
                         7   Defendants, and each of them, acted pursuant to and in furtherance of a policy, practice, or a
                             lack of a practice which resulted in Defendants not paying Plaintiffs and other members of the
            '            8   below-described class in accordance with applicable laws as alleged herein.
                         9             9.      Plaintiffs are informed and believe and thereon allege that each and every one of
                        10   the acts and omissions alleged herein were performed by, and/or attributable to, all Defendants,
                        11   each acting as agents and/or employees, and/or under the direction and control of each of the
                    _   12   other defendants, and that said acts and failures to act were within the course and scope of said
                        13   agency, employment and/or direction and control.
                        14                                       V CLASS ALLEGATIONS
                        15             10.     This action has been brought and may be maintained as a class action pursuant to
                        16   California Code of Civil Procedure § 382 because there is a well-dened community of interest
                             among the persons who comprise the readily ascertainable classes dened below and because
                        17   Plaintiff is unaware of any difculties likely to be encountered in managing this case as a class
                        18   action.
    I                   19             11.     Class Denitions: The classes are dened as follows:
                        20                     A.      Plaintiff Class: All persons Defendants employed by Defendants in
V                       21   California as truck drivers who were paid on an hourly basis at any time during the period
                        22   beginning four years before the lling of this action and ending on the date nal judgment is
                        23   entered in this action.                                                A                               A
            C           24                     B.      Former ,Emloee Subclass:           All Plaintiff Class members who
                        25   separated from their employment with Defendants in California at any time during the period
                        26   beginning three years before the lling of this action and ending on the date nal judgment is
                        27   entered in this action.
                                               C.      Wae Statement Penalties Subclass: All Plaintiff Class members who
                        28   worked for Defendants in California at any time during the period beginning one year before the


                             Arizona, LLC, et al.



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                             1   lling of this action and ending on the date nal judgment is entered in this action.
                             2            12.     Reservation of Rihts: Pursuant to Rule of Court 3.765(b),.Plaintiffs reserve the
                             3   right to amend or modify the class denitions with greater specicity, by further division into
                             4   subclasses and/or by limitation to particular issues.
                    .        5            l3._    Numerosit: The class members are so numerous that the individual joinder of
                '            6   each individual class member is impractical. While Plaintiffs do not currently know the exact
                             7   number of class members, Plaintiffs are informed and believe that the actual number exceeds
                                 the minimum required for numerosity under California law.
                             8            14.     Commonali      and Predominance: Common questions of law and fact exist as
                             9   to all class members and predominate over any questions which affect only individual class                      i

            C               10   members. These questions include, but are not limited to:
        I                   11                    A.     Whether Defendants failed to provide Plaintiff Class members with all
                            12   rest breaks as required by section 12 of the Wage Order?
                            13                    B.     Whether Defendants failed to provide Plaintiff Class members with all
                            14   meal periods as required by section 11 of the Wage Order?
                    A       15                    C.     Whether Defendants engaged in unfair competition within the meaning of
                            16   Business and Professions Code §§ 17200, et seq., with respect to Plaintiff Class members?                   I
                                                  D.     Whether Defendants knowingly and intentionally failed to provide
                            17   Plaintiff Class members with accurate wage statements?
                            18      . V           E. '   "Whether Defendants willfully failed to provide Former Employee
                            19   Subclass members with timely and complete nal wage payments?
                            20                    F.     Whether Plaintiff Class members are entitled to restitution of money or
.                           21   property that Defendants may have acquired from them through alleged violations of the
                            22   California Labor Code and the Wage Order?
                            23            15.     Ticali: Plaintiffs’ claims are typical of the other class members’ claims.
                            24   Plaintiffs are informed and believe and thereon allege that Defendants have a policy, practice or
                            25   a lack of a policy which resulted in Defendants failing to comply with the California Labor
                            26   Code, the Wage Order and the California Business and Professions Code.
                            27            16.     Adeuac of Class Reresentative: Plaintiffs are adequate class representatives
                                 in that they have no interests that are adverse to, or otherwise in conict with, the interests of
                            28   absent class members. Plaintiffs are dedicated to vigorously prosecuting this action on behalf of       A           A

    I
        .                        Arizona, LLC, etal.                _    g                                                           V


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«               I                                               0                                                0
                           1    class members. Plaintiffs will fairly and adequately represent and protect the interests of class
            I             2     members.

                          3               17.      Adeuac        of Class Counsel: Plaintiffs’ counsel are adequate class counsel in
                          4     that they have no known conicts of interest with Plaintiffs or absent class members, are
                          5     experienced in class actionlitigation and are dedicated to vigorously prosecuting this action on
                          6     behalf of Plaintiff and absent class members.                                                          I
                          7               18.      Sueriori: A class action is vastly superior to other available means for fair
                                and efficient adjudication of class members’ claims and would be benecial to the parties and
                          8     the Court. Class action treatment will allow a number of similarly situated persons to
                          9     simultaneously and efciently prosecute their common claims in a single forum without the
                    '    10     unnecessary duplication of effort and expense that numerous individual actions would entail. In
                         11     addition, the monetary amounts due to many individual class members are likely to be relatively
                         12     small and would thus make it difcult, if not impossible, for individual class members to both
                         13     seek and obtain relief. Moreover, a class action will serve an important public interest by
        I                14     permitting class members to effectively pursue the recovery of monies owed to them. Further, a
                         15     class action will prevent the potential for inconsistent or contradictory judgments inherent in
                         16     individual litigation.                                  '
                                                                      FIRSTCAUSE OF ACTION
                         17 A                               — FAILURE TO PROVIDE MEAL PERIODS
                         18                                        (Lab. Code §§ 226.7, 512, and 1198)       '
                         19                            (By Plaintiffs and the Plaintiff Class against all Defendants)
                        20               I9.      Plaintiffs incorporate all paragraphs of the Complaint as if fully alleged herein.
                        21               20.      At all relevant times during the applicable limitations period, Plaintiff and the
                        22      class have been non-exempt employees of Defendants and entitled to the benefits and
                        23      protections of California Labor Code §§ 226.7, 512 and 1198, and the Wage Order.
                        24               21.      Labor Code § 1 198 states,                             '
    A                   25                                  “The maximum hours of work and the standard conditions of labor xed
                                                            by the commission shall be the maximum hours of work and the standard          -
                        26                                  conditions of labor for employees. The employment of any employee for
                                 2                          longer hours than those xed by the order or under conditions of labor
                        27                                  prohibited by the order is unlawful.”

                        28             I 22.      In relevant part, Labor Code Section 512 states      , .       I   I A


                                Arizona, LLC, et al.                         _




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                                            1                                  “An employer may not employ an employee for a work period of more
                                            2                                  than five hours per day without providing the "employee with a meal
                   _                                                           period of not less than 30 minutes, except that if the total work period per
                                            3                                  day of the employee is no more than six hours, the meal period may be
.,.,,,,i                                          i                            waived by mutual consent of both the employer and employee. An
                                            4                                  employer may not employ an employee for a work period of more than
                                       C    5                                  10 hours per day without providing the employee with a second meal
                                                                               period of not less than 30 minutes, except that if the total hours worked is
                                            6                                  no more than 12 hours, the second meal period may be waived by mutual
                                                                               consent of the employer and the employee only if the first meal period
  MY                                        7                                  was not waived.”

                                            8             23.      In relevant part, Section 11 of the Wage Order states                            '
                       ‘           -        9                                  “Meal Periods                                                 .
                                           10                                         (A)    No employer shall employ any person for a work period of         '
                                           11                                         more than five (5) hours without a meal period of not less than 30
                                                                                      minutes, except that when a work period of not more than six (6)
                                           12                                         hours will complete the day’s work the meal period may be
                                           13                                         waived by mutual consent of the employer and the employee.

                                           14                                         (B)    An employer may not employ an employee for a work
                                                                                      period of more than ten (10) hours per day without providing the
                                           15                                         employee with a second meal period of not less than 30 minutes,
                                           16                                         except that if the total hours worked is no more than 12 hours, the
               '                                                                      second meal period may be waived by mutual consent of the
                                           17         _                               employer and the employee only if the first meal period was not                 V
                                                                           - '        waived.
                   ’                       18
                                           19                                         (C)      Unless the employee is relieved of all duty during a 30
                                                                                      minute meal period, the meal period shall be considered an “on
                               ,           2o                                         duty” meal period and counted as time worked. An “on duty”
                                                                                      meal period shall be permitted only when the nature of the work
                                           21                                         prevents an employee from being relieved of all duty and when by
           _                               22                                         written agreement between the parties an on-the-job paid meal
                                                                                      period is agreed to. The written agreement shall state that the
                           ‘               23                                         employee may, in writing, revoke the agreement at any time.

                                           24                                         (D)    If an employer fails to provide an employee a meal period
                                           25                              '          in accordance with the applicable provisions of this order, the
                                                                                      employer shall pay the employee one (1) hour of pay at the                  .
                                           26                                         employee’s regular rate of compensation for each workday that
                                           27                                         the meal period is not provided.”

                                           28             24.     In addition, Labor Code Section 226.7 states

                                                                              _                         5
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                                      1                                 (b)       An employer shall not require an employee to work during a meal
                                      2                                 or rest or recovery period mandated pursuant to an applicable statute, or               —
                                                                        applicable regulation, standard, ’ or order of "the Industrial Welfare
                                      3                                 Commission, the Occupational Safety and Health Standards Board, or the              '
        ma                                                              Division of Occupational Safety and Health.

                                      5                                 (c)     If an employer fails to provide an employee a meal or rest or
                                                                        recovery period in accordance with a state law, including, but not limited
                                      6                                 to, an applicable statute or applicable regulation, standard, or order of the
                                                                        Industrial Welfare Commission, the Occupational Safety and Health
                                      7          '                      Standards Board, or the Division of Occupational Safety and Health, the
         _                            8      .                          employer shall pay the employee one additional hour of pay at the
                                                                '       employee's regular rate of compensation for each workday that the meal
                                      9                                 or rest or recovery period is not provided.

                                     1°                25.   Pursuant to California Labor Code § 512 and the Wage Order, Plaintiff and
                                     11   Plaintiff Class members were entitled to be provided with uninterrupted meal periods of at least
                                     12   thirty (30) minutes for each day they worked five (5) or more hours, and a second uninterrupted
                     .               13   thirty (30) minute meal period on days they worked more than ten (10) hours.                                  i
                                     14                26.   During the relevant time period, Defendants failed to provide Plaintiffs with all
    -                                15   timely meal periods required by California law, including, but not limited to, two 30-minute
                                     16   uninterrupted meal periods on workdays they worked more than ten hours. Plaintiffs are
                                          informed and believe and thereon allege that, at relevant times within the applicable limitations
                                     17
                                          period, Defendants had. a policy, practice, and/or a lack of a policy which resulted in Defendants
‘                                    18
                                          not providing the Plaintiff Class members with all timely meal periods required by California
                         _           19   law, including, but not limited to, two 30-minute uninterrupted meal periods on workdays they
             ’                       20   worked more than ten hours.                                          ’                                 -
                                     21               27.    Defendants failed to pay Plaintiffs the additional wages required by California
                                     22   Labor Code § 226.7 for all workdays in which one or more meal periods were not provided to
                                     23   them. Plaintiffs are informed and believe and thereon allege that, at relevant times within the
                                     24   applicable limitations period, Defendantsihave maintained a policy, practice, or a lack of a
                                     25   policy which resulted in Defendants not providing the Plaintiff Class members with additional
                                     26   wages for all workdays on which one or more meal periods were not provided to each of them
                                     27   as required by California Labor Code § 226.7.
                                                     _ 28.   As a result of Defendants’ unlawful conduct, Plaintiffs and the Plaintiff Class
                                     28                -            V         '
                 .               '        members have suffered damages in amounts subject to proof to the extent they were not paid

                             ,            Valiente, et al. vs. Swift Transportation Co. of                                     Class Action Complaint
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                         1   additional wages owed for all meal periods not provided to them.
                         2            29.       By reason of the above, Plaintiffs and the Plaintiff Class members are entitled to

                         3   premium wages for workdays in which one ormore meal periods were not provided to them
                         4   pursuant to California Labor Code § 226.7, except that Plaintiffs do not seek any premium
                         5   wages to the extent that they were denied a required meal period while transporting hazardous
                         6   materials.
-Iigf;-3'
"$1.3                                                                     SECOND CAUSE OF ACTION
  "                      7                                                                               .                    ‘       .
                                                                   FAILURE TO PROVIDE REST PERIODS
                T        8                                            .                     .                         -
                                                                        '(Lab. Code §§ 226.7 and 1198) .
                         9                        (By Plaintiffs and the Plaintiff Class against all Defendants)
                        1?            30.       Plaintiffs incorporate all paragraphs of the Complaint as if fully alleged herein.
                        11            31.       At all relevant times during the applicable limitations period, Plaintiff and the
                        12   class have been non-exempt employees of Defendants and entitled to the benets and
                        13   protections of Califomia Labor Code §§ 226.7, 1198, and the Wage Order.
                        14            32.       Labor Code § 1198 states,
                    '   15                                       “The maximum hours of work and the standard conditions of labor fixed
                                                                 by the commission shall be the maximum hours of work and the standard
                        16                                       conditions of labor for employees. The employment of any employee for
                                                                 longer hours than those fixed by the order or under conditions of labor
                        17                                       prohibited by the order is unlawful.”
                        18                                                                                  .
                        19            33.      In relevant part, Section 12 of the Wage Order states
            ’           20
                                                                 “Rest Periods:
                                                                             .  .      -

                                                     T                   (A)    Every employer shall authorize and permit all employees
                        21                                               to take rest periods, which insofar as practicable shall be in the
                        22                                               middle of each work period. The authorized rest period time shall
                                                                         be based on the total hours worked daily at the rate often (l0_)
                        23                                               minutes net rest time per four (4) hours or major fraction thereof.       '
                                                                         However, a rest period need not be authorized for employees
                        24                                               whose total daily work time is less than three and one-half (3 1/2)
                        25                                   ‘           hours. Authorized rest period time shall be counted as hours
                                                                         worked for which there shall be no deduction from wages.
                        26
                                                                         (B)    If an employer fails to provide an employee a rest period
                        27                                               in accordance with the applicable provisions of this Order, the
                        28                               ,               employer shall pay the employee one (1) hour of pay at the
                                                                         employee’s regular rate of compensation for each work day that
                                                                                    _ __   7
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                                               1                                        the rest period is not provided.”
   .                                           2
                                               3            34.       In addition, Labor‘Code Section 226.7 states:

                 ’                             4                          (b) An employer shall not require an employee to work during a meal or rest
j”M
  -Z                                                                           or recovery P eriod mandated P ursuant to an ap P licable statute, or
--f7:.Jl                                       5                               aPP licable re 8“ lation, standard, or order of the Industrial Welfare
                                               6                               Commission, the Occupational Safety and Health Standards Board, or the
:;'j1;f3,'                                                                     Division of Occupational Safety and Health.
li§[:3'                                        7                                                                                                          p
                                                                          (c) If an employer fails to provide an employee a meal or rest or recovery
                                               8                              period in accordance with a state law, including, but not limited to, an
                                               9                               applicable statute or applicable regulation, standard, or order of the
                                                                               Industrial Welfare Commission, the Occupational Safety and Health
                                              10                               Standards Board, or the Division of Occupational Safety and Health, the
                                                                               employer shall pay the employee one additional hour of pay at the
                                              11                               employee's regular rate of compensation for each workday that the meal
                                              12                               or rest or recovery period is not provided.

                                              13            35.      Pursuant to the Wage Order, Plaintiffs and the Plaintiff Class members were
                     ‘           S            14   entitled to be provided with net rest breaks of at least ten minutes for each four hour period of
                                              15   work, or major fraction thereof.
                                     A        16            36.      Defendants failed to provide Plaintiffs with all required rest breaks in accordance
                                                   with the Wage Order. Plaintiffs are informed and believe and thereon allege that, at relevant
                                              17
                         ‘               —         times within the applicable limitations period, Defendants had a policy, practice, or a lack of a
                                              18
                                                   P olic Y‘ which resulted in Defendants not P rovidin g Plaintiff and Plaintiff Class members with
                                              19   all rest breaks required by California law.
                                              20            37.      Defendants failed to pay Plaintiffs the additional wages required by California
                                              21   Labor Code § 226.7 for workdays in which one or more rest breaks were not provided to him.
                                              22   Plaintiff is informed and believes and thereon alleges that, at relevant times within the
                                              23   applicable limitations period, Defendants have maintained a policy, practice, or a lack of a
                                              24   policy which resulted in Defendants not providing the Plaintiff Class members with additional
                                              25   wages for all workdays on which one or more rest breaks were not provided to each of them as
                                              26   required by Califomia Labor Code § 226.7.
                                              27            38.      As a result of Defendants’ unlawful conduct, Plaintiffs and the Plaintiff Class

                     V       ,                     members have suffered damages in amounts subject to proof to the extent they were not paid                 ,
                                              28                                                                            '                    V    -
             _                   I                 additional wages owed for all rest breaks not provided to them.

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                   1              39.      By reason of the above, Plaintiffs and the Plaintiff Class members are entitled to
                   2    premium wages for workdays in which one or more rest breaks were not provided to them
                   3    pursuant to California Labor Code § 226.7, except that Plaintiffs do not seek any premium
                   4    wages to the extent that they were denied a required rest break while transporting hazardous
                   5    materials.
                   6                             .             THIRDCAUSE OFACTION                                 I
                   7              FAILURETO PROVIDE ACCURATE WRITTEN WAGE STATEMENTS
    '                                                             «   (Lab. Code § 226)
                   8           (By Plaintiffs and the Wage Statement Penalties Subclass against all Defendants)
                   9             40.       Plaintiffs incorporate all paragraphs of the Complaint as if fully alleged herein.
                 10              41.      At all relevant times during the applicable limitations period, Plaintiffs and the
                 11     class have been employees of Defendants and entitled to the benets and protections of
                 12 California Labor Code § 226. _                      '
                 13 ‘            42.      Pursuant to California Labor Code § 226(a), Plaintiffs and the Wage Statement
                 14     Penalties Subclass have been entitled to receive, semimonthly or at the time of each payment
                 ls     of wages, an accurate itemized statement showing, among other things: a) gross wages earned;
                 16     b) net wages earned; c) all applicable wage rates in effect during the pay period; and d) the
                        corresponding number of hours worked at each hourly rate by the employee.
                 17              43.      Pursuant to California Labor Code § 226(e), an employee suffering injury as a                —
                 18     result of a knowing and intentional failure by an employer to comply with subdivision (a) is
                 19     entitled to recover the greater of all actual damages or fifty dollars ($50) for the initial pay
                 20     period in which a violation occurs and one hundred dollars ($100) per employee for each
                 21     violation in a subsequent pay period, not to exceed an aggregate penalty of four thousand
                 22     dollars ($4,000), and is entitled to an award of costs and reasonable attorneys’ fees.                     0
                 23              44.      Pursuant to California Labor Code § 226(e), an employee is deemed to suffer
            p    24     injury if the employer fails to provide a wage statement. Also, an employee is deemed to suffer
                 25     injury if the employer fails to provide accurate and complete information as required by
                 26,    California Labor Code § 226(a) and the employee cannot “promptly and easily determine” from
V                27     the wage statement alone one or more of the following:
                                          A.         The amount of the gross wages or net wages paid to the employee during
                 28     the pay period or any of the other information required to be provided on the itemized wage


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                                     1    statement P ursuant to California Labor Code         226 a ;
                                     2                       B.       Which deductions the emplo Yer made from 8Toss wa g es to determine the

                                     3    net wages paid to the employee during the pay period;                      '

                           V         4     '       '         C.       The name and address of the employer and, if the employer is a farm               g
                                     5    labor contractor, as defined in subdivision (b) of Section 1682 of the California Labor Code, the
                                     6    name and address of the legal entity that secured the services of the employer during the pay
- i’$':"                                       .
                                     7    period; and

                                                             D.       The name of the employee and only the last four digits of his or her social
                                     8
                                          security number or aiiemployee identification number other than a social security number.
                                     9                 45.   “Promptly and easily determine,” as stated in California Labor Code § 226(e),
                                    10    means a reasonable person would be able to readily ascertain the infomiation without reference
_                      ,            11    to other documents or information.
                                    12                 46.   As alleged herein, Defendants failed to provide Plaintiffs and the Wage
                                    13    Statement Penalties Subclass all wages owed, including but not limited to, premium wages for
               "                    14    unprovided rest and meal periods. As a result, Defendants have failed to properly and accurately
                                    15    itemize each employee’s gross wages gross and net wages earned, and other requirements of
                                    16    California Labor Code § 226. As a result, Defendants have violated California Labor Code §
                                          226.                    .                                  »
                                    17
                                                       47.   Defendants’ failure to provide Plaintiffs and the Wage Statement Penalties
                                    18
                                          Subclass members with accurate wage statements was knowing and intentional. Defendants had
           -                        19-         . .           .     . .                                   .                       .
               '               '          the ability to provide Plaintiffs and the Wage Statement Penalties Subclass members with
           _           _            20    accurate wage statements but intentionally provided wage statements that Defendants knew
                                    21    were not accurate.
                                    22                 48.   As a result of bein 8 P rovided with inaccurate wa g e statements b Y Defendants,
                                    23    Plaintiffs and the Wage Statement Penalties Subclass members have suffered injury. Their
                                    24    legal rights to receive accurate wage statements were violated and they were misled about the
                                    25    amount of wages they had actually earned and were owed. In addition, the absence of accurate
                   ‘                26    information on their wage statements prevented immediate challenges to Defendants’ unlawful
                                          pay practices, has required discovery and mathematical computations to determine the amounts
                                    27
                                          of wages owed, has caused difficulty and expense in attempting to reconstruct time and pay
                                    28
                                          records and/or has led to the submission of inaccurate information about wages to state and
                                                                                               10            ~           . -
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                                      1   federal government agencies. Further, Plaintiffs and the Wage Statement Penalties Subclass
                                      2   members were not able to ascertain from the wage statements whether Defendants complied
                                      3   with their obligations under California Labor Code § 226(a).
                                      4              49.     Pursuant to California Labor.Code § 226(e), Plaintiffs and the Wage Statement
                                      5   Penalties Subclass are entitled to recover the greater of actual damages, or penalties of fty
                                      6   dollars ($50) for the initial pay period in which a violation of California Labor Code § 226(a)
                                      7   occurred and one hundred dollars for each violation of California Labor Code § 226(a) in a
                                          subsequent pay period, not to exceed an aggregate penalty of four thousand dollars ($4,000) per
                                      8   class member, and are also entitled to an award of costs and reasonable attorneys’ fees.
                                      9                                     FOURTH CAUSE or ACTION                           '
    '                                10          ‘                           WAITING TIME PENALTIES
                                     11                                           (Lab. Code §§ 201-203)
                                     12                (By Plaintiffs and the Former Employee Subclass against all Defendants)
                    I                13   VI         50.    Plaintiffs incorporate all paragraphs of the Complaint as» if fully alleged herein.
                                     14              51."   At all relevant times during the applicable limitations period, Plaintiff and the
                                     15   class have been non-exempt employees of Defendants and entitled to the benefits and
                                     16   protections of California Labor Code §§ 201-203, and the Wage Order.
.                                                    52.    California Labor Code §201 provides that all earned and unpaid wages of an
                                .    17   employee who is discharged are due and payable immediately at the time of discharge.
        »                            18              53.    California Labor Code §202 provides that all earned and unpaid wages of an
                »                    19   employee who quits after providing at least 72-hours notice before quitting are due and payable
            0                        20   at the time of quitting and that all earned and unpaid wages of an employee who quits without
                                     21   providing at least 72-hours notice before quitting are due and payable within 72 hours.
                                     22              54.    By failing to pay earned premium wages to Plaintiffs and the Former Employee
                p                    23   Subclass members, Defendants failed to timely pay them all earned and unpaid wages in
                                     24   violation of California Labor Code § 201 or § 202.
                -                    25              55.    Plaintiffs are informed and believe and thereon allege that Defendants’ failures to
                            -        26   timely pay all eamed and unpaid wages to them and the Former Employee Subclass members
                                     27   have been willful in that Defendants have the ability to pay earned wages in accordance with
                                          California Labor Code §§ 201 and 202 but have intentionally adopted policies or practice that
                        V            28   are incompatible with those requirements.


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                                         ' 1            56.      California Labor Code § 203 provides that the wages of an employee continue on
                                           2   a daily basis as a penalty for up to 30 days where an employer willfully fails to timely pay
                    I               2      3   earned and unpaid wages to the employee in accordance with California Labor Code § 201 or §
                                           4   202.                                                                          _         -               ‘
                                           5            57.      Plaintiffs are informed and believe and thereon allege that Defendants’ failures to       2
    V                                      6   timely pay Plaintiffs and the Former Employee Subclass members all of their earned and
                                           7   unpaid wages have been willful in that, at all relevant times, Defendants have deliberately
                                               maintained policies and practices that violate the requirements of the California Labor Code and
                                           8   the Wage Order even though, at all relevant times, they have had the ability to comply with
                                           9   those legal requirements.                        ‘
                _                        10             58.      Pursuant to California Labor Code § 203, Plaintiffs seek waiting time penalties
                                         11    on behalf of themselves and the Former Employee Subclass members, in amounts subject to
                                         12    proof not to exceed 30 days of waiting time penalties for each subclass member.                  ~
                                         13                             V ’          FIFTH CAUSE OF ACTION
                                         14                                            UNFAIR COMPETITION
        1                                15                                       (Bus. & Prof. Code §§ 17200, et seq.)
                                         16                           (By Plaintiffs and the Plaintiff Class against all Defendants)
                                         17             59.      Plaintiffs incorporate all paragraphs of the Complaint as if fully alleged herein.
                                                        60.      At all relevant times during the applicable limitations period, Plaintiffs and the
            -                            18    Plaintiff Class members have been employees of Defendants and entitled to the benefits and
                                         19    protections of California Business and Professions Code § 17200 et seq.
                                         20             61.      The unlawful conduct of Defendants alleged herein amounts to and constitutes
                                         21    unfair competition within the meaning of California Business & Professions Code §§ 17200, et q
                        ’                22    seq. Due to their unfair and unlawful business practices alleged herein, Defendants have
                                        ‘ 23   unfairly gained a competitive advantage over other comparable companies doing business in
                                         24    California that comply with their legal obligations to compensate employees for all carried
                                         25    wages and reimburse them for all expenses.            I   1
                                         26             62.      As a result of Defendants’ unfair competition as alleged herein, Plaintiff and the
                                         27    class have suffered injuries in fact and lost money or property. Plaintiff and the Plaintiff Class
                                ‘              members were deprived of premium wages for all rest and meal periods not provided to them.
                                         28             63.      Pursuant to California Business & Professions Code § 17203, Plaintiffs and the


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                            1   Plaintiff Class members are entitled to restitution of all monies rightfully belonging to them
_a                         2    that Defendants did not pay them or otherwise retained by means of their unlawful and unfair
                            3   business practices.                        :            I                                      V           ’
                            4        _   64.       Plaintiffs and the Plaintiff Class members are entitled to reasonable attorneys’
                           5    fees in connection with their unfair competition claims pursuant to California Code of Civil
             V              6   Procedure § 1021.5, thesubstantial benet doctrine and/or the common fund doctrine.
                           7                              ’              SIXTH CAUSE OF ACTION . -
                           8                                                   CIVIL PENALTIES
                           9                                        (By Plaintiffs Against All Defendants)

     I                    10             65.       Plaintiffs incorporate all paragraphs of the Complaint as if fully alleged herein.
                                         66.       Labor Code §§ 2699(a) and (g) authorize an aggrieved employee,’on behalf of
'        A                11    herself and other current and former employees, to bring a representative civil action to recover
                          l2_   civil penalties pursuant to the procedures specied in Labor Code § 2699.3.
                          13             67.       Plaintiffs, as employees against whom Defendants have committed one or more
                          14    alleged violations of the Labor Code during the applicable limitations period, are “aggrieved
                          15    employees” within the meaning of Labor Code § 2699(c).
                          16             68.       During the applicable limitations period, Defendants have violated Labor Code
                          17    §§ 201, 202, 203, 204, 226(a), 226.7, 512, and 1198.
                          18             69.      Pursuant to Labor Code §§ 2699(a) and (f), Plaintiffs, on behalf of themselves
                          19    and other aggrieved employees, seek the following civil penalties for Defendants violations of
                          20    Labor Code §§ 201, 202, 203, 204, 226(a), 226.7, 512, and 1198.
                                                  A.          For violations of Labor Code sections 201, 202, 203, 226, and 226.7,

                          21                                  $100 for each employee per pay period for each initial violation and $200

     I                    22                                  for each employee per pay period for each subsequent violation (penalties

                          23                                  set by Labor Code section 2699(f)(2l);

                          24                      B.          For violations of Labor Code § 204, $100 for each employee for each

                          25                                  initial violation, and $200 for each employee, plus 25% of the amount
                          26                                  unlawfully withheld from each employee, for each subsequent violation

                     .    :;                                  (penalties set by Labor Code § 210);_2_1g1_d


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                    A             1                        C.        For violations of Labor Code §§ 512 and 1198, $50 for each employee

                                  2                                  per pay period for each initial violation and $50 for each employee per

                                  3                    1             pay period for each subsequent violation, plus the amount of unpaid

                                  4                                  wages (penalties set by Labor Code section 558).
                                  5            70.         Plaintiffs have complied with the procedures for bringing suit set forth in Labor
                                  6   Code § 2699.3. By letter dated March 15, 2018 and May 7, 2018, Plaintiffs gave written notice
            g                     7   via certied mail to the Labor and Workforce Development Agency (“LWDA”) and Defendants
                                  8   of the specic provisions of the Labor Code that they allege to have been violated, including the
                                  9   facts and theories to support the alleged violations. More than 65 days have passed since the
                                 10   mailing of Plaintiffs letter without the LWDA informing her that it intends to investigate the
                                      violations ofthe Labor Code she has alleged.
                .                11            71.         Pursuant to Labor Code § 2699(g)(l), Plaintiffs seek awards of reasonable costs
        .                        12   and attorneys’ fees in connection with their claims for civil penalties.
    _                   '        13                                                 PRAYER FOR RELIEF
                                 14            WHEREFORE, Plaintiffs, on behalf of themselves and all others similarly situated,
                                 15   prays for relief and judgment against Defendants as follows:
                                 I6                             A. An order that the action be certified as a class action;
                                 17                             B. An order that Plaintiff be appointed class representative;
                                 18                             C. An order that counsel for Plaintiff be appointed class counsel;
                                 19                             D. Unpaid Wages;
                                 20                             E. Actual Damages;
                                                                F. Statutory Damages; A
                                 21                             G. Liquidated Damages;
                                 22                             H. Restitution;
            I                    23                             I.   Declaratory and injunctive relief;                               —            ,
                                 24                             J.   Equitable relief;      ‘                ’
                                 25                             K. Pre-judgment interest;
                                 26                             L. Statutory penalties;
                                 27                             M. Civil penalties
                                 28                             N. Costs of suit;                 1

                                                                                     .          . 14   . .
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                              1                                  0. Interest;
                              2        C                         P. Reasonable attorneys’ fees; and
                              3                                  Q. Such other relief as the Court deems just and proper.

                              4
                              5            Plaintiffs, on behalf of themselves and all others similarly situated, hereby demands a
                              6   jury trial on all issues so triable.

                              7                                                                                          S
                                                                                           Respectfully submitted,

                              8                                                            LAW OFFICES OF LOUIS BENOWITZ
                              9                                                            THE LAW OFFICE OF JOSHUA COHEN SLATKIN
                             10                                                                              I
                .            11 Dated: Octoberl6, 2018                                      E       16:12 Cgwp                                       _ '
        ‘                    12                          ‘                               By A       JOSHUA COHEN SLATKIN
                             13                                                                     LOUIS BENOWITZ
    »                   .                                                                           Attorneys for Plaintiffs
                             14                                                                     JOHEL VALIENTE and ASHRAF AIAD
                             15                                                                 C
                             16                                          '

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